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                         THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS,
                                  DALLAS DIVISION

 GIGI’S CUPCAKES, LLC;                          )
                                                )
         Plaintiff/Counterclaim-defendant,      )        Civil Action No. 3:17-cv-3009
                                                )        Consolidated with:
 v.                                             )                 3:17-cv-3010-B
                                                )                 3:17-cv-3011-B
 4 BOX, LLC; NIKOLAS PAPPAS; AND                )                 3:17-cv-3012-B
 LORAINE PAPPAS ET AL.;                         )                 3:17-cv-3013-B
                                                )                 3:17-cv-3014-B
         Defendants/Counter-claimants.          )                 3:17-cv-3015-B
                                                )                 3:17-cv-3016-B
 v.                                             )                 3:17-cv-3017-B
                                                )                 3:17-cv-3018-B
 KEYCORP, LLC; GIGI’S FRANCHISING,              )                 3:18-cv-2377-B
 LLC; GIGI’S HOLDINGS, LLC; GIGI’S              )                 3:18-cv-2381-B
 OPERATING, LLC; FUNDCORP, INC.;                )                 3:18-cv-2826-B
 FOOD BUSINESS SERVICES, LLC;                   )                 3:18-cv-2828-B
 SOVRANO, LLC; ALAN THOMPSON;                   )                 3:18-cv-2831-B
 AND GINA BUTLER;                               )                 3:18-cv-2843-B
                                                )                 3:18-cv-2846-B
         Counterclaim-Defendants.               )

      SUGGESTION OF BANKRUPTCY AND AUTOMATIC STAY OF PROCEEDINGS

        PLEASE TAKE NOTICE that on January 4, 2019, Plaintiff/Counterclaim-Defendant,

Gigi’s Cupcakes, LLC, and Counterclaim-Defendants, Sovrano, LLC, and Gigi’s Operating,

LLC (collectively with Gigi’s Cupcakes, LLC the “Debtors”) filed voluntary petitions for relief

under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United

States Bankruptcy Court for the Northern District of Texas, Fort Worth Division (the

“Bankruptcy Court”). The Debtors’ chapter 11 cases are pending in the Bankruptcy Court before

the Honorable Judge Edward L. Morris. A copy of each Debtor’s voluntary petition is attached

hereto as Exhibit A.




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         PLEASE TAKE FURTHER NOTICE that pursuant to section 362(a) of the

Bankruptcy Code, the Debtors’ commencement of chapter 11 cases operates as a stay, applicable

to all entities, of, among other things: (a) the commencement or continuation of a judicial,

administrative, or other action or proceeding against a debtor that was or could have been

commenced before the commencement of the debtor’s case or to recover a claim against a debtor

that arose before the commencement of the debtor’s case; (b) the enforcement, against a debtor

or against any property of the debtor’s bankruptcy estate, of a judgment obtained before the

commencement of the debtor’s case; or (c) any act to obtain possession of property of or from a

debtor’s bankruptcy estates, or to exercise control over property of the debtor’s bankruptcy

estates.1 No order has been entered in the bankruptcy case granting relief from the automatic

stay.

         PLEASE TAKE FURTHER NOTICE that you may obtain copies of any pleadings by

visiting the Court’s website at https://ecf.uscourts.gov/ (PACER login and password required) in

accordance with the procedures and fees set forth therein.




1    Nothing herein shall constitute a waiver of the right to assert any claims, counterclaims, defenses, rights of
     setoff or recoupment, or any other claims of the Debtors against any party to the above-captioned case. The
     Debtors expressly reserves the right to contest any claims that may be asserted against the Debtors.


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Dated: January 8, 2019

                                         Respectfully submitted,


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                                         LLC, GIGI’S OPERATING, LLC,
                                         FUNDCORP, INC., FOOD BUSINESS
                                         SERVICES, LLC, AND SOVRANO,
                                         LLC




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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing pleading was submitted for

electronic filing and service through ECF, which caused counsel of record to be served by

electronic means, on January 8, 2019:

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                                                    /s/ Deborah S. Coldwell
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